Case 2:16-cv-06785-MWF-AJW Document 200 Filed 07/17/18 Page 1 of 3 Page ID #:6728



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   11   MATTHEW HERNANDEZ
   12
                            UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14
   15   ESTATE OF FERAS MORAD,         )         No. 2:16-cv-06785 MWF (AJWx)
        AMAL ALKABRA, and AMR          )
   16   MORAD,                         )         Hon. Michael W. Fitzgerald
                                       )
   17                      Plaintiffs, )         DEFENDANTS’ NOTICE OF
                                       )         LODGING [PROPOSED]
   18   vs.                            )         JUDGMENT ON VERDICT
                                       )
   19                                  )
        CITY OF LONG BEACH,            )
   20   MATTHEW HERNANDEZ,             )
        ROBERT LUNA, and DOES 1        )
   21   through 20, inclusive,         )
                                       )
   22                      Defendants. )
        ______________________________ )
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               DEFENDANTS’ NOTICE OF LODGING [PROPOSED] JUDGMENT ON VERDICT
Case 2:16-cv-06785-MWF-AJW Document 200 Filed 07/17/18 Page 2 of 3 Page ID #:6729



    1         TO THE HONORABLE COURT AND TO ALL PARTIES AND
    2         THEIR ATTORNEYS OF RECORD:
    3         Defendants hereby lodge the attached [Proposed] Judgment on Verdict in
    4   the above entitled action.
    5
    6   DATED: July 17, 2018          CHARLES PARKIN, City Attorney
    7
                                      /s/ Howard D. Russell
    8                                 MONTE H. MACHIT, Assistant City Attorney
                                      HOWARD D. RUSSELL, Deputy City Attorney
    9                                 Attorneys for Defendants City of Long Beach and
                                      Robert Luna
   10
   11   DATED: July 17, 2018          FERGUSON, PRAET & SHERMAN, APC
   12
   13                                 /s/ Peter J. Ferguson
                                      Peter J. Ferguson,
   14                                 Kyle R. Bevan,
                                      Attorneys for Defendant Matthew Hernandez
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               DEFENDANTS’ NOTICE OF LODGING [PROPOSED] JUDGMENT ON VERDICT
Case 2:16-cv-06785-MWF-AJW Document 200 Filed 07/17/18 Page 3 of 3 Page ID #:6730



    1                                 PROOF OF SERVICE
    2
        STATE OF CALIFORNIA, COUNTY OF ORANGE
    3
              I, Coleen Ludvigson, am employed in the aforesaid County, State of
    4   California; I am over the age of 18 years and not a party to the within action. My
        business address is 1631 East 18th Street, Santa Ana, California 92705-7101.
    5
            On July 17, 2018, I served the foregoing DEFENDANTS’ NOTICE OF
    6   LODGING [PROPOSED] JUDGMENT ON VERDICT; [PROPOSED]
        JUDGMENT ON VERDICT on the interested parties in this action:
    7
        Barbara Enloe Hadsell, Esq.
    8   Hadsell Stormer & Renick LLP
        128 N. Fair Oaks Ave.
    9   Pasadena, CA 91103
        Attorneys for Plaintiffs
   10
        Joshua Piovia-Scott, Esq.
   11   Hadsell Stormer & Renick LLP
        4300 Horton Street, #15
   12   Emeryville, CA 94608
        Attorneys for Plaintiffs
   13
        Howard Russell, Esq.
   14   Office of the Long Beach City Attorney
        333 W. Ocean Blvd., 11th Floor
   15   Long Beach, CA 90808
        Attorneys for Defendants City of Long Beach and Robert Luna
   16
   17         (By Mail) I placed such envelope for deposit in accordance with office
              practice, sealed, with postage thereon fully paid and the correspondence to
   18         be deposited in the United States mail at Santa Ana, California on the same
              day.
   19
              (By Facsimile Service) I caused such envelope/document to be delivered via
   20         facsimile to the office of the addressee.
   21   XXX (By e-filing) The above noted individuals are registered with the Court to
            receive notice of electronically filed documents. Per ECF rules, hard copies
   22       must be served only on parties who are not set up for electronic notification.
   23   XXX (Federal) I declare under penalty of perjury that the foregoing is true and
            correct, and that I am employed in the office of a member of the bar of this
   24       Court at whose direction the service was made.
   25   Executed on July 17, 2018, at Santa Ana, California.
   26
                                                     /s/ Coleen Ludvigson
   27                                                Coleen Ludvigson
   28


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               DEFENDANTS’ NOTICE OF LODGING [PROPOSED] JUDGMENT ON VERDICT
